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4    Telephone: (916) 554-2751
5
6
                    IN THE UNITED STATES DISTRICT COURT
7
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,     )         CASE NO. CR S-05-0248 FCD
10                                 )
                    Plaintiff,     )         STIPULATION AND ORDER
11                                 )         MOVING BRIEFING SCHEDULE AND
          v.                       )         HEARING DATE ON DEFENDANT’S
12                                 )         MOTION TO SUPPRESS
     MIGUEL ANGEL SANDOVAL, and    )
13   MICHELLE LYNN STUBBLEFIELD,   )
                                   )
14                  Defendants.    )
     _____________________________ )
15
          Plaintiff, United States of America, by its counsel,
16
     Assistant United States Attorney Jason Hitt, and defendant
17
     Michelle Lynn Stubblefield, by her counsel Hayes H. Gable III,
18
     stipulate and agree that the briefing schedule and non-
19
     evidentiary currently set on defendant’s motion to suppress
20
     should be reset as follows:
21
          Opposition Brief Due:              August 11, 2006
22
          Reply Brief Due:                   August 15, 2006
23
          Hearing Date:                      August 21, 2006, at 9:30 a.m.
24
          The parties further stipulate that the period up to August
25
     21, 2006, should be excluded from computation of the time for
26
     commencement of trial under the Speedy Trial Act, based upon the
27
     pending motion under 18 U.S.C. § 3161(h)(1)(F) and the interests
28

                                         1
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1    of justice under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4.
2
                                                 Respectfully Submitted,
3
                                                 McGREGOR W. SCOTT
4                                                United States Attorney
5
6    DATED:    July 14, 2006             By:     /s/Jason Hitt
                                                 JASON HITT
7                                                Assistant U.S. Attorney
8
     DATED:    July 14, 2006             By:     /s/Jason Hitt
9                                                Telephonically authorized to
                                                 sign for Mr. Gable on 7-14-06
10                                               HAYES H. GABLE, III
                                                 Attorney for STUBBLEFIELD
11
                                         ORDER
12
          Based upon the representations and stipulation of counsel,
13
     IT IS HEREBY ORDERED that:
14
          1.      The briefing schedule and non-evidentiary currently set
15
     on defendant’s motion to suppress is reset as follows:
16
          Opposition Brief Due:                  August 11, 2006
17
          Reply Brief Due:                       August 15, 2006
18
          Hearing Date:                          August 21, 2006, at 9:30 a.m.
19
          2.      Based upon the representations and stipulation of the
20
     parties, the court finds that the time exclusion under 18 U.S.C.
21
     § 3161(h)(1)(F) applies and, in addition, the ends of justice
22
     outweigh the best interest of the public and the defendant in a
23
     speedy trial.     Accordingly, time under the Speedy Trial Act shall
24
     be excluded through August 21, 2006.
25
26
     DATED: July 14, 2006
27                                       /s/ Frank C. Damrell Jr.
                                         FRANK C. DAMRELL, JR.
28                                       United States District Judge
